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IN THE UNITED sTATES DISTRICT cOURT
FOR THE wESTERN DISTRICT oF TENNESSEE 05 . __
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UNITED sTATES OF AMERICA, WD`”£;`F ,¢§ ,, ,,,H[TS

vS. Nc). 05“20167-145/\/

ROBERT LESTER ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is defendant's June 21, 2005, motion to set

bond.

This matter is hereby referred to the magistrate judge for a

hearing and determination.

It is so ORDERED this °"‘\Aday of June, 2005.

SAMUEL H. MAYS, JR.
U'NITED STA'I‘ES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

